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                     Exhibit A
      Case 1:23-cv-10628-JGLC Document 19-1 Filed 12/19/23 Page 2 of 15


From:             Meredith Firetog
To:               Jonathan Davis; Scott@leemonlaw.com
Cc:               Douglas Wigdor; Michael J. Willemin; Grace Buczak
Subject:          Doe v. Combs - Dkt. No. 18
Date:             Tuesday, December 19, 2023 2:08:53 PM
Attachments:      image001.png
                  image002.png
                  image003.png
                  image004.png
                  2023.12.19 - Doe v Combs - Dkt No. 18.pdf
                  JGLC Clarke Individual Rules and Practices in Civil Cases_0.pdf


Counsel:

Please see attached docket number 18, the Court’s order for an initial pre-trial conference, along
with a copy of the Court’s Individual Rules of Practice.

We will be filing this email as proof of notice of the above.

Thank you,
Meredith




Meredith A. Firetog
Partner

212 257 6800
85 Fifth Avenue
New York, NY 10003

wigdorlaw.com




    Please consider the environment before printing this e-mail




This communication may contain Confidential or Attorney-Client Privileged Information and/or Attorney
Work Product. If you are not the addressee indicated in this message or its intended recipient (or
responsible for delivery of the message to such person(s)), do not read, copy, or forward this message to
anyone and, in such case, please immediately destroy or delete this message, including any copies
hereof, and kindly notify the sender by reply e-mail or phone. Thank you.
                Case 1:23-cv-10628-JGLC Document 19-1 Filed 12/19/23 Page 3 of 15




From:                              NYSD_ECF_Pool@nysd.uscourts.gov
Sent:                              Tuesday, December 19, 2023 11:42 AM
To:                                CourtMail@nysd.uscourts.gov
Subject:                           Activity in Case 1:23-cv-10628-JGLC Doe v. Combs et al Order for Initial Pretrial
                                   Conference


This is an automatic e-mail message generated by the CM/ECF system. Please DO NOT RESPOND to this e-mail
because the mail box is unattended.
***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits attorneys of record and
parties in a case (including pro se litigants) to receive one free electronic copy of all documents filed electronically, if
receipt is required by law or directed by the filer. PACER access fees apply to all other users. To avoid later charges,
download a copy of each document during this first viewing. However, if the referenced document is a transcript, the
free copy and 30 page limit do not apply.

                                                    U.S. District Court

                                              Southern District of New York

Notice of Electronic Filing

The following transaction was entered on 12/19/2023 at 11:41 AM EST and filed on 12/19/2023
Case Name:          Doe v. Combs et al
Case Number:        1:23-cv-10628-JGLC
Filer:
Document Number: 18

Docket Text:
NOTICE OF INITIAL PRETRIAL CONFERENCE: Unless and until the Court orders otherwise,
counsel for all parties shall appear for an initial pretrial conference with the Court on March
19, 2024 at 2:00 p.m. The conference will be held remotely by Microsoft Teams. All counsel
must familiarize themselves with the Court's Individual Rules and Practices, which are
available at https://nysd.uscourts.gov/hon-jessica-g-l-clarke. All parties are required to
register promptly as filing users on ECF. Counsel are directed to confer with each other prior
to the conference regarding settlement and each of the other subjects to be considered at a
Federal Rule of Civil Procedure 16 conference. Additionally, in accordance with Paragraph 3(c)
of the Court's Individual Rules and Practices, the parties are hereby ORDERED to file on ECF a
joint letter, described below, as well as a proposed Civil Case Management Plan and
Scheduling Order attached as an exhibit to the joint letter, no later than March 12, 2024. The
parties shall use this Court's form Proposed Civil Case Management Plan and Scheduling
Order. The joint letter shall not exceed five pages, and shall provide the following information
in separate paragraphs: as set forth herein. Counsel who have entered a notice of appearance
as of the issuance of this order are directed (1) to notify counsel for all other parties in this
action who have not yet appeared by serving upon each of them a copy of this order and the
Courts Individual Rules and Practices forthwith, and (2) to file proof of such notice with the
Court. If unaware of the identity of counsel for any of the parties, counsel receiving this order
must forthwith send a copy of this order and the Court's Individual Rules and Practices to that

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party personally. SO ORDERED.Telephonic Initial Conference set for 3/19/2024 at 02:00 PM
before Judge Jessica G. L. Clarke. (Signed by Judge Jessica G. L. Clarke on 12/19/2023) (ama)


1:23-cv-10628-JGLC Notice has been electronically mailed to:

Douglas Holden Wigdor     dwigdor@wigdorlaw.com, fileclerk@wigdorlaw.com

Michael John Willemin    mwillemin@wigdorlaw.com, fileclerk@wigdorlaw.com

Meredith Anne Firetog    mfiretog@wigdorlaw.com, fileclerk@wigdorlaw.com

1:23-cv-10628-JGLC Notice has been delivered by other means to:

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:n/a
Electronic document Stamp:
[STAMP dcecfStamp_ID=1008691343 [Date=12/19/2023] [FileNumber=30563376
-0] [912a27e61bcc782a28a65af89ee3323dfd7853c42cbdbb58f752c027e5b96e110
9cbe2de0773035b4a40792ce5a89fabaa462ca32d1b575c1bdcaf2c7ab28dfe]]




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                                                                                         JUNE 2023

                     INDIVIDUAL RULES AND PRACTICES IN CIVIL CASES
                     Jessica G. L. Clarke, United States District Judge

 Chambers                                                Courtroom
 United States District Court                            500 Pearl Street, Courtroom 20C
 Southern District of New York
 500 Pearl Street, Room 1040                             Courtroom Deputy
 New York, NY 10007                                      Sophia Tran
 ClarkeNYSDChambers@nysd.uscourts.gov                    (212) 805-0246

Unless otherwise ordered by the Court, these Individual Rules apply to all civil matters
before Judge Clarke.

   1. Guidelines for All Submissions

          a. Electronic Case Filing (“ECF”). In accordance with the S.D.N.Y. Electronic
             Case Filing Rules and Instructions, except as otherwise expressly provided, all
             documents filed with the Court must be filed electronically.

          b. Text-Searchable Submissions. All written submissions and supporting materials
             must be text-searchable to the extent practicable.

          c. Submission of Large Electronic Files. The Court has a file transfer protocol for
             the safe electronic transmission of large files. If a party needs to submit large files
             by email (as opposed to ECF), the party should email the Court (at
             ClarkeNYSDChambers@nysd.uscourts.gov) requesting a link to be used for such
             transfer. The email should include the name and docket number of the case as well
             as the nature and size of the materials to be submitted electronically. The
             Government may use USAfx.

          d. No Courtesy Copies. Unless the Court orders otherwise, parties should not
             submit courtesy copies of any submissions.

          e. Amended or Corrected Filings. Any amended or corrected filing shall be filed
             with a redline showing all differences between the original and revised filing. Any
             motion to amend a pleading shall similarly be filed with a redline showing all
             differences between the operative pleading and the proposed amended pleading.

   2. Communications with Chambers

          a. Letters and Letter-Motions. Except as otherwise provided below,
             communications with Chambers shall be by letter filed on ECF. Letters seeking
             relief (if consistent with S.D.N.Y. Local Rules and the S.D.N.Y. Electronic Case




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      Filing Rules and Instructions) should be filed as letter-motions on ECF, not
      ordinary letters.

      Letters may not exceed three pages in length (exclusive of exhibits or
      attachments) without prior permission from the Court.

      For any emails to Chambers permitted under these Rules, counsel should include
      in the subject line: (1) the case caption, (2) docket number and (3) a brief
      description of the party’s request. Parties shall not include substantive
      communications in the body of the email, only in the attached letter.

      Copies of correspondence between counsel shall not be sent to the Court or filed
      on ECF except as exhibits to an otherwise properly filed document.

   b. Telephone Calls. Telephone calls to Chambers should be reserved for urgent
      matters. In such situations, call Sophia Tran, Courtroom Deputy, at (212) 805-
      0246.

   c. Faxes. Faxes to Chambers are not permitted without express prior permission,
      and only in cases of unforeseeable emergencies.

   d. Hand Deliveries. Hand-delivered mail should be left with the Court Security
      Officers at the Worth Street entrance of the Daniel Patrick Moynihan United
      States District Courthouse, 200 Worth Street, New York, NY 10007. If the hand-
      delivered letter is urgent and requires the Court’s immediate attention, ask the
      Court Security Officers to notify Chambers that an urgent package has arrived
      that needs to be retrieved by Chambers staff immediately.

   e. Requests for Adjournments or Extensions of Time. All requests for
      adjournments or extensions of time must be made in writing and filed on ECF as
      letter-motions in accordance with Section 2(a) of these Rules, not as ordinary
      letters. The letter-motion must state: (1) the original date and the new date
      requested; (2) the number of previous requests for adjournment or extension; (3)
      whether these previous requests were granted or denied; (4) the reason for the
      extension or adjournment; (5) whether the adversary consents and, if not, the
      reasons given by the adversary for refusal to consent; and (6) the date of the
      parties’ next scheduled appearance before the Court. If the parties are requesting
      an adjournment of a conference, they must also provide three mutually agreeable
      alternative conference dates. If the requested adjournment or extension affects any
      other scheduled dates, a proposed Revised Civil Case Management Plan and
      Scheduling Order must be attached. Absent an emergency, any request for
      extension or adjournment shall be made as early as possible, and at least 48 hours
      prior to the deadline or scheduled appearance. Requests for extensions will
      ordinarily be denied if made after the expiration of the original deadline.




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      f. Related Cases. After an action has been accepted as related to a prior filing, all
         future court papers and correspondence must contain the docket number of the
         new filing as well as the docket number of the case to which it is related.

3. Conferences

      a. In Person Conferences. Conferences may be held remotely or in person. In
         person conferences will be held in Courtroom 20C of the Daniel Patrick
         Moynihan U.S. Courthouse, 500 Pearl Street, New York, NY.

      b. Remote Conferences. Absent permission of the Court, no more than one attorney
         shall speak on behalf of either party.

      c. Initial Pretrial Conference. The Notice of Initial Pretrial Conference, scheduling
         a Federal Rule of Civil Procedure 16 conference, will be filed on ECF. The Notice
         will direct the parties to file on ECF, approximately one week prior to the
         conference, a joint letter as well as a joint proposed Civil Case Management Plan
         and Scheduling Order attached as an exhibit to the joint letter. The parties shall
         use the form Proposed Case Management Plan and Scheduling Order available at
         the Court’s website.

              i. Diversity Jurisdiction Cases. In any action in which subject matter
                 jurisdiction is founded on diversity of citizenship pursuant to 28 U.S.C.
                 § 1332, the party asserting the existence of such jurisdiction shall, prior to
                 the Initial Pretrial Conference, file a letter to the Court on ECF no longer
                 than two pages explaining the basis for that party’s belief that diversity of
                 citizenship exists. Where any party is a corporation, the letter shall state
                 both the place of incorporation and the principal place of business. In
                 cases where any party is a partnership, limited partnership, limited liability
                 company or trust, the letter shall identify and state the citizenship of each
                 of the entity’s members, shareholders, partners and/or trustees.

      d. Post-Discovery Joint Status Letter. No later than one week after the close of
         fact discovery, counsel for all parties must meet for at least one hour to discuss
         settlement and file a joint letter updating the Court on the status of the case,
         including but not limited to, confirming that the one-hour settlement discussion
         occurred and stating whether all parties consent to mediation or a settlement
         conference to be held before the designated Magistrate Judge. The letter should
         not identify, explicitly or implicitly, any party that has declined to consent.

      e. Participation by Junior Attorneys and Attorneys from Diverse Backgrounds.
         The Court encourages the participation of less experienced attorneys and
         attorneys from diverse backgrounds, who historically have been underrepresented
         in the federal bar, in all proceedings, particularly where the attorneys played a
         substantial role in drafting the underlying filing or in preparing the relevant




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         witness. To facilitate this provision, the Court is amenable to permitting more than
         one attorney to argue for one party.

      f. Authority Consistent with Proceeding. All attorneys appearing before the Court
         must have authority to bind the party they represent consistent with the
         proceedings (for example, by agreeing to a discovery resolution or briefing
         schedule).

      g. Pronouns and Honorifics. The parties and counsel are encouraged to advise the
         Court if they would like to be addressed with a particular pronoun and/or
         honorific – such as Ms., Mx. or Mr. – so that the Court may address them
         respectfully. People appearing before this Court may do so when appearing for
         conferences, hearings or trials by speaking to the courtroom deputy. All parties
         and counsel shall address each other in all written documents and court
         proceedings by pronouns and/or honorifics previously identified.

4. Motions

      a. Pre-Motion Letters and Conferences in Civil Cases. Pre-motion letters and
         conferences are not required, except for disputes concerning discovery, which are
         governed by Section 4(k) of these Rules.

      b. Memoranda of Law. Motion papers must conform to Local Civil Rule 11.1 of
         the S.D.N.Y. Local Rules. Memoranda of law in support of and in opposition to
         motions are limited to 25 pages and reply memoranda are limited to 10 pages.
         Memoranda of 10 pages or more shall contain a table of contents and table of
         authorities, neither of which shall count against the page limit. Surreply
         memoranda are not allowed (unless specifically permitted in extraordinary
         situations for good cause).

      c. Unpublished Cases. The parties need not provide copies of unpublished cases if
         the case is available on Westlaw or LexisNexis.

      d. Oral Arguments on Motions. The Court rarely holds oral argument. But a party
         may request oral argument on a motion by indicating “ORAL ARGUMENT
         REQUESTED” on the cover page of its memorandum of law. If a party believes
         that the Court would benefit from oral argument for a particular reason not
         obvious from the parties’ briefing, the party may file a letter explaining the reason
         – not a letter-motion – on ECF. The Court will determine whether argument will
         be heard and, if so, advise counsel of the argument date.

      e. Motion to Dismiss and Amended Complaints. If a motion to dismiss is filed,
         the non-moving party shall, within 10 days of receipt of the motion, notify the
         Court and its adversary in writing whether (1) it intends to file an amended
         pleading and when it will do so; or (2) it will rely on the pleading being attacked.
         Non-moving parties are on notice that declining to amend their pleadings to



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      respond to a fully briefed argument in the motion to dismiss may well constitute a
      waiver of their right to use the amendment process to cure any defects that have
      been made apparent by the briefing. This provision does not alter the time to file a
      response in the Federal Rules or the Local Rules.

      If the non-moving party amends, the opposing party may then (1) file an answer;
      (2) file a new motion to dismiss; or (3) file a letter stating that it relies on the
      initially filed motion to dismiss. If the moving party files an answer or a new
      motion to dismiss, the Court will deny the original motion to dismiss as moot.

   f. Summary Judgment Procedures

          i. Discouraged in Non-Jury Cases. Summary judgment motions are
             discouraged in non-jury cases.

          ii. Rule 56.1 Statements. Any party moving for summary judgment shall
              provide all other parties with an electronic copy, in Microsoft Word
              format, of the moving party’s Statement of Material Facts Pursuant to
              Local Rule 56.1 (“Rule 56.1 Statement”). Opposing parties must
              reproduce each entry in the moving party’s Rule 56.1 Statement and set
              out the opposing party’s response directly beneath it. If the opposing party
              wishes to file their own, additional statements of material fact, it shall
              begin numbering each entry where the moving party left off.

             To streamline the summary judgment briefing process, the Court requires
             the parties to also negotiate and submit, prior to or along with the
             movant’s Rule 56.1 Statement, a joint Rule 56.1 Statement setting out all
             facts on which the parties agree. Each factual assertion in Rule 56.1
             Statements must be followed by a citation to the portion(s) of the
             evidentiary record relied upon. Each memorandum of law must include a
             statement of facts and may not simply incorporate by reference the
             entirety of a party’s Rule 56.1 Statement.

         iii. Deposition Transcripts. Deposition transcripts that are supplied in
              connection with a summary judgment motion, whether in whole or in part,
              should be text-searchable and include an index.

   g. Motions to Exclude Testimony of Experts. Unless the Court orders otherwise,
      motions to exclude testimony of experts, pursuant to Rules 702-705 of the Federal
      Rules of Evidence and the Daubert v. Merrell Dow Pharmaceuticals, Inc., 509
      U.S. 579 (1993), line of cases, must be made by the deadline for dispositive
      motions and should not be treated as motions in limine.

   h. Default Judgment. A party seeking a default judgment must proceed by filing a
      motion for default judgment on ECF pursuant to Federal Rule of Civil Procedure
      55(b)(2) and Local Civil Rule 55.2(b). A party seeking a default judgment should



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      not proceed by order to show cause. The motion must be supported by the
      following papers:

      1. If failure to answer is the basis for the default, a Certificate from the Clerk of
         Court stating that no answer has been filed;

      2. an attorney’s affidavit or declaration setting forth:

             a. the basis for entering a default judgment, including a description of the
                method and date of service of the summons and complaint;

             b. the procedural history beyond service of the summons and complaint,
                if any;

             c. legal authority for why such service was proper;

             d. whether, if the default is applicable to fewer than all of the defendants,
                the Court may appropriately order a default judgment on the issue of
                damages prior to resolution of the entire action;

             e. the proposed damages and the basis for each element of damages,
                including interest, attorney’s fees and costs; and

             f. legal authority for why an inquest into damages would be unnecessary;

      3. a proposed default judgment;

      4. copies of all the operative pleadings; and

      5. a copy of the affidavit of service of the summons and complaint.

      The plaintiff must serve the motion for default judgment and supporting
      paperwork on the party against whom the default judgment is sought and file an
      affidavit of service on ECF within 14 days of filing the motion for default
      judgment. If more than 14 days are required to complete service of the motion for
      default judgment and supporting papers, the plaintiff should file a letter on ECF
      explaining why additional time is necessary and when the plaintiff anticipates
      service will be completed.

      The Court will review the motion for default judgment and, if appropriate, issue
      an order setting a date and time for a default judgment hearing. If the Court issues
      such an order, the plaintiff must then serve on the party against whom default
      judgment is sought: (1) the motion for default judgment and supporting papers;
      and (2) the Court’s order setting a date and time for the default judgment hearing.
      The plaintiff must file on ECF proof of such service on the docket in the manner
      and by the date specified in the Court’s order setting the default judgment hearing.



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   i. Applications for a Temporary Restraining Order. A party must confer with
      their adversary before making an application for a temporary restraining order
      unless the requirements of Federal Rule of Civil Procedure 65(b) are met. As soon
      as a party decides to seek a temporary restraining order, that party must file a
      letter on ECF (under seal if proceeding ex parte) and state clearly whether: (1) it
      has notified its adversary and whether the adversary consents to temporary
      injunctive relief; or (2) the requirements of Federal Rule of Civil Procedure 65(b)
      are satisfied and no notice is necessary.

      The moving party must email ClarkeNYSDChambers@nysd.uscourts.gov giving
      notice of the filing and the time frame requested for Court action. The moving
      party should then file a Motion for a Temporary Restraining Order, supporting
      documents and a proposed order on ECF in accordance with ECF procedures.
      Where the motion is made on notice to the other parties, the moving party should
      simultaneously serve the documents on any party that will not receive electronic
      service via ECF. If the matter is time sensitive and Chambers does not respond
      within two hours, the movant may call Chambers before the end of the business
      day at (212) 805-0246.

      If a party’s adversary has been notified but does not consent to temporary
      injunctive relief, the party seeking a restraining order must file the application at a
      time mutually agreeable to it and the adversary, so that the Court may have the
      benefit of advocacy from both sides in deciding whether to grant temporary
      injunctive relief.

   j. Proposed Orders and Stipulations. Proposed orders to show cause, temporary
      restraining orders, stipulations, consent orders and proposed judgments are to be
      filed electronically on ECF as explained in the SDNY Electronic Case Filing
      Rules and Instructions. Counsel should also email an electronic courtesy copy of
      any proposed order to Chambers, in both Microsoft Word and PDF formats.

   k. Discovery Disputes. Parties must follow Local Civil Rule 37.2 with the following
      modifications. Any party wishing to raise a discovery dispute with the Court must
      first confer in good faith with the opposing party, in person, virtually or by
      telephone, in an effort to resolve the dispute. If this meet-and-confer process does
      not resolve the dispute, counsel shall promptly file on ECF a single letter-motion,
      jointly composed, no longer than five pages, explaining the nature of the dispute
      and, if applicable, requesting an informal conference. Separate and successive
      letters will not be read.

      Strict adherence to Federal Rule of Civil Procedure 37(a)(1), the “meet and
      confer” rule, is required, and should be described in the joint submission as to
      time, place and duration, naming the counsel involved in the discussion. The joint
      letter shall set forth, with specificity, the requested discovery that each dispute



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          involves and the respective position of each party, citing the applicable authority
          that the respective parties claim for support. If an opposing party refuses to
          participate in writing a joint letter or does not provide its portion of a joint letter
          within 72 hours of a party’s request, a party may submit a letter without the
          opposing party’s contribution and shall attach a copy of the correspondence
          seeking the opposing party’s contribution.

          The Court will seek to resolve discovery disputes quickly, by order (based on the
          letter alone) or in a conference. Counsel should seek relief in accordance with
          these procedures in a timely fashion; if a party waits until near the close of
          discovery to raise an issue that could have been raised earlier, the party is unlikely
          to be granted the relief that it seeks or more time for discovery.

5. Redactions and Filing Under Seal.

      a. Privacy Policy. The parties are referred to Federal Rule of Civil Procedure 5.2
         and the S.D.N.Y. ECF Privacy Policy (“Privacy Policy”). The parties should not
         include, unless necessary, the five categories of “sensitive information” in their
         submissions (i.e., social security numbers, names of minor children [use the
         initials only], dates of birth [use the year only], financial account numbers and
         home addresses [use only the City and State]).

      b. Redactions Not Requiring Court Approval. Without Court approval, parties
         may redact the five categories of “sensitive information” and the six categories of
         information requiring caution (i.e., personal identifying number, medical records,
         treatment and diagnosis, employment history, individual financial information,
         proprietary or trade secret information and information regarding an individual’s
         cooperation with the government), as described in the Privacy Policy.

      c. Redactions and Sealed Filings Requiring Court Approval. Except for
         redactions permitted by the eleven categories of information identified in the
         Privacy Policy, all redactions or sealing of public court filings require Court
         approval. To be approved, any redaction or sealing of a court filing must be
         narrowly tailored to serve whatever purpose justifies the redaction or sealing and
         must otherwise be consistent with the presumption in favor of public access to
         judicial documents.

      d. Procedures for Filing Documents with Redactions. Any party seeking to file a
         document with partial redactions should follow the following three steps:

          i. Meet and Confer. The party seeking leave to file redacted materials should
             meet and confer with any opposing party (or any third party seeking
             confidential treatment of the information) in advance to narrow the scope of
             the request. When a party seeks leave to file a document in redacted form on
             the ground that an opposing party or third party has requested it, the filing
             party shall notify the opposing party or third party that it must file on ECF,



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           within three business days of the filing party’s letter-motion seeking leave to
           file in redacted form, a letter explaining the need to redact the document.

      ii. Filing a Letter-Motion Seeking Leave to File with Redactions. If the party
          is seeking leave of the Court to redact the document (i.e., if the redactions are
          not among the categories of redactions that can be made without Court
          approval), the party should simultaneously file on ECF a letter-motion
          seeking leave to file the document with those redactions in accordance with
          Standing Order 19-MC-583 and Section 6 of the S.D.N.Y. Electronic Case
          Filing Rules and Instructions. The letter-motion itself shall be filed in public
          view and should not include confidential information. The letter-motion must
          explain the purpose of the redactions, and why the redactions are consistent
          with the standards set forth in Section 5(c) above.

      iii. ECF Filing of Redacted Document(s). At the same time, the party shall: (1)
           publicly file on ECF and electronically relate to the letter-motion a copy of
           the document with the proposed redactions; and (2) file under seal on ECF
           (with the appropriate level of restriction) and electronically relate to the
           motion an unredacted copy of the document with the proposed redactions
           highlighted.

   e. Procedure for Filing Sealed Documents.

     i. Meet and Confer. The party seeking leave to file sealed materials should meet
        and confer with any opposing party (or any third party seeking confidential
        treatment of the information) in advance to narrow the scope of the request.
        When a party seeks leave to file a document under seal on the ground that an
        opposing party or third party has requested it, the filing party shall notify the
        opposing party or third party that it must file on ECF, within three business
        days of the filing party’s letter-motion seeking leave to file under seal, a letter
        explaining the need to seal the document.

     ii. Filing a Letter-Motion Seeking Leave to File Under Seal. The party shall
         electronically file a letter-motion seeking leave to file a document under seal on
         ECF in accordance with Standing Order 19-MC-583 and Section 6 of the
         S.D.N.Y. Electronic Case Filing Rules and Instructions. The letter-motion itself
         shall be filed in public view, should explain the reasons for seeking to file the
         document under seal and should not include confidential information.

    iii. ECF Filing of Sealed Document(s). The proposed sealed document(s) shall be
         separately and contemporaneously filed under seal on ECF (with the appropriate
         level of restriction) and electronically related to the motion (or to the relevant
         Court order, if the Court previously granted leave to file the document under
         seal). Note that the summary docket text, but not the document itself, will be
         open to public inspection and, thus, should not include confidential information
         sought to be filed under seal.



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   f. Submission by Email. Any party unable to comply with the requirement for
      electronic filing under seal on ECF, or who believes that a particular document should
      not be electronically filed at all, shall file a letter-motion by email, seeking leave of the
      Court to file in a different manner. Such letter-motions may be emailed to
      ClarkeNYSDChambers@nysd.uscourts.gov as text-searchable PDF attachments, with
      copies simultaneously delivered to all counsel. In the subject line, the cover email
      should state clearly: (1) the caption of the case, including the lead party names and
      docket number; and (2) a brief description of the nature of the request. Parties shall not
      include substantive communications in the body of the email. The letter-motion must
      explain why sealing or redaction is justified in light of the standards discussed in
      Section 5(c) above. If the party believes that the letter-motion itself should be sealed or
      redacted, the letter-motion should so state and should provide the justification therefor.
      Unless otherwise ordered by the Court, letter-motions seeking leave to file in a
      different manner shall not exceed three pages. The Court will include instructions for
      filing sealed or redacted versions of the document and accompanying letter-motion, if
      necessary, in any order disposing of the motion to seal.

       If the Court grants leave to submit by email, the party should email to
       ClarkeNYSDChambers@nysd.uscourts.gov: (1) a clean (i.e., unredacted) copy of the
       document; (2) a copy of the document highlighting the information that has been
       redacted in the ECF filing; and (3) an unredacted copy of the letter-motion described
       in Rules 5(e)(iii)-(iv), should the party also be seeking leave to file that letter-motion
       with redactions or under seal.

6. Other Pretrial Guidance

   a. Settlement Agreements. As soon as the parties reach an agreement to settle, the
      parties must call Sophia Tran, Courtroom Deputy, at (212) 805-0246 to alert the Court
      and file a joint letter promptly. The Court will not retain jurisdiction to enforce
      confidential settlement agreements. If the parties request that the Court retain
      jurisdiction to enforce the agreement, the parties must place the terms of their
      settlement agreement on the public record. The parties may request that the Court
      endorse the settlement agreement or include the terms of their settlement agreement in
      their stipulation of settlement and dismissal.

   b. Policy on Use of Electronic Devices. Attorneys’ use of personal electronic devices
      (including mobile phones) and general purpose computing devices (such as laptops
      and tablets) within the Courthouse and its environs is governed by Standing Order
      M10-468. When Court permission is required under the Standing Order, attorneys
      seeking to bring electronic devices to the Court should email a completed Model Court
      Order to ClarkeNYSDChambers@nysd.uscourts.gov no later than five business days
      before the relevant trial or hearing. Upon the Court’s approval, Chambers will
      coordinate with the District Executive’s Office to issue the order and forward a copy to
      counsel. The order must be presented upon bringing the electronic device(s) into the




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  Courthouse. If permitted by the Standing Order, mobile telephones are permitted inside
  the Courtroom, but they MUST be kept turned off at all times.




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